Case 2:05-cV-00377-WKW-VPI\/| Document 1 Filed 04/25/05 Page 1 of 23

,-

,. z ;'.: '~ :'.. ;
IN THE UNITED STATES DISTRICT COURT FOR THE` i` i” ( ! \J §"" D

MIDDLE DISTRICT OF ALABAMA
2005 APR 25 A q, 35

KENITH BURDETT, ) h
) "` .?»`1? " 'Z.§ f" f~`:»»#<
Plaintiff, ) ;f"|.§ ".J’,.~ ': 1 1_~",;1; l`
) "'"*~-»‘ .. .~>\';..»\
vs. )
) ,
AMERICAN EDUCATION ) CASE No. O? ; 03 <:\/é _! `/ - F
SERVICES CoRPoRATIoN, CHASE )
MANHATTAN BANK, UsA, N.A., )
EQUIFAX INFoRMATIoN SERVICES, )
LLC., THE EDUCATION REsoURCE )
INSTITUTE, INC., and TRANSUNION, )
LLC; )
)
Defendants. JURY TRIAL DEMANDED
COMPLAINT

4

Plaintiff, Kenith Burdett, by and through the undersigned attorneys, brings this action

against Defendants:
1 .

2.

American Education Services Corporation (“AES”)
Chase Manhattan Bank, U.S.A, N.A. (“Chase”)

Equifax Information Services, LLC (“Equifax”)
The Education Resource Institute, Inc. (“TERI”)

TransUnion, LLC (“TransUnion”)

on the grounds and in the amounts set forth herein.

PRELIMINARY STATEMENT

Case 2:05-cV-00377-WKW-VPI\/| Document 1 Filed 04/25/05 Page 2 of 23

l. This is an identity theft case. For the last several years it has become well known
in the national media that identity theft is a growing and nationwide problem. For example in
August of 2000, the FBI called identity theft the fastest-growing white-collar crime in the nation
and estimated that over 500,000 people Will be victims that year.i Identity theft has proved to be
a growth industry because in July 2003 two studies, Garmer Research and Harrz`s Interactive,
estimated that approximately 7 million people were victims of identity theft in the prior 12
monthsii. Victims spend an average of 600 hours recovering from this crime often over period of
years.iii

2. According to the U.S. Department of Justice, “Identity theft refers to crimes in
which someone wrongfully obtains and uses another person’s personal data in some way that

involves fraud or deception, typically for economic gain.”

3. Plaintiff brings this action for damages based upon Defendants’ violations of the
Fair Credit Reporting Act (“FCRA”), 15 U.S.C. § 1681 et. seq., and claims under Alabama law.

Plaintiff seeks actual damages, punitive damages, costs and attorneys fees.
THE PARTIES

4. Plaintiff is a natural person and consumer, a resident and a citizen of Barbour
County in the State of Alabama and of the United States. Plaintiff is a “consumer” as defined by

§ 1681a(c) of the FCRA.

5. Defendant TRANSUNION is a corporation incorporated under the laws of
Illinois. It has its principal place of business in Illinois. lt is licensed to do business in Alabama

and it does business in this district

Case 2:05-cV-OO377-WKW-VPI\/| Document 1 Filed 04/25/05 Page 3 of 23

6. TRANSUNION is a consumer reporting agency as defined in § 1681 of the
FCRA, regularly engaged in the business of assembling, evaluating, and dispersing information

concerning consumers for the purpose of furnishing consumer reports, as defined in § 1681a(d)

of the FCRA, to third parties.

7. TRANSUNION dispenses such consumer reports to third party subscribers under

the contract for monetary compensation

8. The Defendant, EQUIFAX INFORMATION SERVICES, LLC., (hereinafter
referred to as the “EQUIFAX”) is a corporation incorporated under the laws of Georgia. lt has
its principal place of business in Georgia. lt is licensed to do business in Alabama and it does

business in this district.

9. Defendant EQUIFAX is a consumer reporting agency as defined in § l681a(t) of
the FCRA, regularly engaged in the business of assembling, evaluating, and dispersing
information concerning consumers for the purpose of furnishing consumer reports, as defined in

§ 1681a(d) of the FCRA, to third parties.

10. Defendant EQUIFAX dispenses such consumer reports to third party subscribers

under the contract for monetary compensation

11. The Defendant, CHASE is a corporation doing business in Alabama and
incorporated under the laws of Delaware. Its principal place of business is in Delaware and it

does business in this district

12. Defendant CHASE is a furnisher of information as defined in 15 U.S.C. § 1681s-2

of the FCRA and/or a user of consumer credit reports.

Case 2:05-cV-OO377-WKW-VPI\/| Document 1 Filed 04/25/05 Page 4 of 23

13. The Defendant, AES is a corporation doing business in Alabama and incorporated
under the laws of Pennsylvania. lts principal place of business is in Pennsylvania and it does

business in this district

14. Defendant AES is a furnisher of information as defined in 15 U.S.C. § 1681s-2 of

the FCRA and/or a user of consumer credit reports.

15. The Defendant, TERI is a non profit corporation doing business in Alabama and
incorporated under the laws of Massachusetts Its principal place of business is in Massachusetts

and it does business in this district.

16. Defendant TERI is a furnisher of information as defined in 15 U.S.C. § 1681s-2

of the FCRA and/or a user of consumer credit reports.

0

JURISDICTION AND VENUE

17. This court has jurisdiction over this matter based upon 28 U.S.C. § 1331, in that
this dispute involves predominant issues of federal law. Defendants are liable to Plaintiff
pursuant to the provisions of the “Consumer Credit Protection Act of 1968,” 15 U.S.C. § 1601, et

seq., as well as other applicable law.
18. Venue is proper in the Middle District of Alabama pursuant to 28 U.S.C. §1391.
FACTUAL ALLEGATIONS

19. Plaintiff first became aware that he had been a victim of identity theft after he

attempted to obtain financing from a mortgage company on or about October, 2004.

Case 2:05-cV-OO377-WKW-VPI\/| Document 1 Filed 04/25/05 Page 5 of 23

20. Plaintiff was denied the loan based on adverse information on his credit file and

has subsequently been denied other credit.

21. Adverse information contained in the consumer credit report by the Defendants
Equifax and TransUnion stated and implied that Plaintiff had numerous student loan accounts

and credit cards.
22. Many of these did not belong to him.

23. For example, Plaintiff had approximately fourteen (14) student loan accounts in
excess of over 3125,000.00 (one hundred and twenty-five thousand dollars) being reporting on

his credit file by TransUnion, Experian and Equifax.

24. Plaintiff also had several credit card accounts reporting on his consumer file: a
Citizens Banl< Account, # 554514011127..., a GMAC Account # 34090442... and a Chase Bank

Account, # 518338198001.

25. Plaintiff, after a careful review of his credit report, discovered the student loan

accounts were being reported by a company named AES.

26. On November 2, 2004, Plaintiff sent in a letter informing Defendant AES of the
numerous student loan accounts reported on his consumer file and informed them that these
accounts did not belong to him. Plaintiff also requested a copy of all documentation regarding

the loans that evidence him as signing or co-signing for them.

27. On November 17, 2004, Plaintiff immediately contacted the Eufaula Police
Department and filed a report regarding the student loans and other accounts fraudulently opened

in his name.

Case 2:05-cV-OO377-WKW-VPI\/| Document 1 Filed 04/25/05 Page 6 of 23

28. Also on that same date, Plaintiff sent in dispute letters listing the adverse accounts
to Equifax, TransUnion, Experian, and AES and requested a reinvestigation and removal of these

accounts

29. On information and belief defendant AES contracted with defendant TERI to
perform some or all of the obligations of AES mandated by the FCRA and by 15 U.S.C. § 1681s-

2(b).

30. Plaintiff included a Forgery/Identity Theft Affidavit with his reinvestigation

request, and copies of his social security card and drivers license.

31. Plaintif`f’s dispute letters stated that he had been a victim of identity theft, that he
never authorized these student loans or the credit cards to be taken out in his name that these

accounts were fraudulently opened and should be removed from his credit file.

32. On or about November 30, 2004, Plaintiff received a copy of his consumer report

from Equifax.

33. The report stated that the numerous AES student loan accounts Were reported as

“Consumer Disputes - Reinvestigation in Process.”

34. The report also stated that the Chase account, number 518338198001* was

“Consumer Disputes - Reinvestigation in Process.”

35. Plaintiff assumed by the report from Equifax that the erroneous accounts were

being investigated and that all of them would soon be deleted from his credit file.

Case 2:05-cV-OO377-WKW-VPI\/| Document 1 Filed 04/25/05 Page 7 of 23

36. Plaintiff, on or about December 7, 2004 received a reinvestigation report from

Equifax verifying the Chase account, number 5183 38198001*.

37. Equifax verified that the Chase account belonged to the Plaintiff, when in fact the

Plaintiff never opened a Chase credit card account

38. According to the report, the additional disputed accounts were not currently being

reported on the credit file.

39. On or about December 13, 2004, Plaintiff received an additional reinvestigation

report from Equifax verifying separately each disputed AES student loan account

40. Equifax failed to remove the inaccurate student loan accounts and continued to
report this on the Plaintiff’s consumer file after a reinvestigation request was initiated and

documentation was supplied to Equifax.

41. On or about December 8, 2004, Plaintiff received a reinvestigation report from
Experian (Which is not a defendant herein), deleting all the AES student loan accounts, the

Citizens Bank account, Chase account, and GMAC account

42. Defendant TransUnion never reported the results of its reinvestigation.
TransUnion did not perform a proper investigation and in fact never sent a reinvestigation report

to the Plaintiff within the statutory time limit

43. Plaintiff also received a letter from Peter Konstantilakis, Fraud examiner of TERI
Loan Origination regarding the fraud claim that the Plaintiff initiated through AES on or about

December 6, 2004.

Case 2:05-cV-OO377-WKW-VPI\/| Document 1 Filed 04/25/05 Page 8 of 23

44. Plaintiff followed the detailed instructions of the letter, which included filing out
documents provided to the Plaintiff, such as an Affidavit of Forgery, Missing or Unauthorized
Endorsement Affidavit, and a detailed letter of the forgery. The letter also suggested for the

Plaintiff to call the Live Oak Florida Police Department
45. Plaintiff contacted the Live Oak Florida Police Department and filed a complaint

46. Curious to see the results of the reinvestigation by the Defendants, Plaintiff on or

about December 29, 2004 ordered and received a copy of his credit report.
47. The adverse and erroneous information was still being reported by Equifax.

48. There were approximately fifteen (15) student loan accounts and the Chase

account, number 51833 819800133 89 still being reported by Equifax.

t

49. Also, TransUnion was reporting an AES/CHARTRBK student loan account,

number 42098035500014 and the Chase account, number 5183381980013389.
50. Plaintiff applied for a loan at Compass Bank on or about January, 2005.
51. Plaintiff received a denial letter based on information on his TransUnion report.

52. Plaintiff ordered a free copy of his TransUnion report and received a copy on or

about February 15, 2005 .

53. Adverse information contained in the consumer credit report by Defendant

TransUnion still contained the Chase account, number 5 1 83 3 81980013 3 89.

54. Plaintiff, on or about March 6, 2005 received a second letter from TERI Loan

Origination regarding the fraud claim initiated through AES.

Case 2:05-cV-OO377-WKW-VPI\/| Document 1 Filed 04/25/05 Page 9 of 23

55 . The letter and documentation Was identical to the correspondence that the

Plaintiff received from TERI on December 6, 2004.

56. Plaintiff had already responded to the first letter sent to him on December 6, 2004
and has had numerous phone conversations with agents at TERI regarding the student loan

accounts;
5 7. Plaintiff applied for credit with First Bankcard on or about March, 2005.

58. Plaintiff received an adverse action letter which stated that the Plaintiff was
denied credit through First Bankcard because of adverse information contained on his consumer

file reported by CSC Credit Services, Inc., which is a reseller of Equifax credit reports.

59. After a series of credit denials and the failure to remove the inaccurate and
adverse information contained on the Plaintiff’s consumer reports, the Plaintiffs only alternative

to correct his consumer reports Was to file this action.

60. The Plaintiff has suffered damages, including but not limited to, the loss of credit,
the loss of the ability to purchase and benefit from credit, mental suffering, and emotional pain as

a result of Defendants’ publication of this adverse credit information

61. Defendants have repeatedly attributed adverse credit information to the Plaintiff

that does not belong to him.

62. Plaintiffs creditworthiness has been repeatedly compromised by the acts and

omissions of the .Defendants.

Case 2:05-cV-OO377-WKW-VPI\/| Document 1 Filed 04/25/05 Page 10 of 23

63. The presence of the numerous inaccurate trade-lines on his credit report adversely

affects his good name and creditworthiness

l 64. Defendants Equifax and TransUnion have published lower credit scores about

Plaintiff based on its inclusion of false data in Plaintiff s consumer credit reports.

65. Defendants Equifax and TransUnion have published false adverse action codes

about Plaintiff based on its inclusion of false data in Plaintiff s consumer credit reports.

66. Defendants Equifax and TransUnion prepared, issued, assembled, transferred and
otherwise reproduced consumer reports, regarding the Plaintiff, as defined in the FCRA 15

U.S.C. 1681a.

67. Defendants Equifax and TransUnion maintain a contract with smaller affiliate

bureaus, legal and contractual agents, wherein they share data and other assets.

68. Defendants Equifax and TransUnion allow their credit reporting database, which
takes in, Warehouses, maintains and manipulates data supplied by their subscribers, to be

accessed by their affiliate bureaus and subscribers

69. Defendants Equifax and TransUnion and their affiliate bureaus and subscribers
have access to consumer credit reports, prepared by the Credit Reporting Agencies (“CRA”),
from the same data pool, in the same database, and Defendants Equifax and TransUnion have a
duty to each consumer, including Plaintiff, about whom they report, as provided for in the

FCRA.

70. Defendants Equifax and TransUnion have repeatedly supplied false consumer

reports to its subscribers and attributed said data to the Plaintiff.

10

Case 2:05-cV-OO377-WKW-VPI\/| Document 1 Filed 04/25/05 Page 11 of 23

71. Plaintiff advised Defendants directly, on multiple occasions, of the false data and
demanded that the data be removed from its consumer reports and files of and concerning

Plaintiff.

72. Defendants failed to properly reinvestigate Plaintiffs disputes and Defendants

continued to prepare false information and/or issue false consumer reports

73. Defendants misrepresented information to Plaintiff and further concealed

information from Plaintiff.

74. Defendants chose to continue to prepare and publish false information and/or

consumer credit reports about Plaintiff`.

75 . Defendants took inadequate action to correct Plaintiff’s consumer reports or

delete the false data or otherwise conduct an appropriate, lawful reinvestigation.

76. Likewise, Defendants Equifax and TransUnion failed to take necessary and
reasonable steps to prevent further inaccuracies from entering Plaintiff’ s credit data file and such
false data continued to be posted as new consumer credit reports were prepared, issued and
disseminated by the Defendants Equifax and TransUnion and relayed for further use, reliance

and publication by their subscribers

77. Defendants Equifax and TransUnion failed to adopt and follow reasonable
procedures to assure the maximum possible accuracy of Plaintiff’s consumer credit and other
personal information, as required by the FCRA, which they compiled, used and manipulated, in
order to prepare consumer credit reports, credit scores, risk factors/denial codes and other

economic and prediction data evaluations

11

Case 2:05-cV-OO377-WKW-VPI\/| Document 1 Filed 04/25/05 Page 12 of 23

78. Defendants failed to adopt and follow reasonable procedures to assure the proper
reinvestigation, accuracy, deletion and/or suppression of false data appearing on Plaintiff’s

consumer reports and as contained in their consumer reporting data bank, as required by the

`FCRA.

79. Defendants Equifax and TransUnion have continually added, stored, maintained
and disseminated personal and credit information, in consumer reports it prepared and issued,
about the Plaintiff which was inaccurate, false, erroneous and misleading despite notice from the

Plaintiff that such information was inaccurate.

80. Defendants through their fault, as described herein, caused great and irreparable

injury to Plaintiff herein.

81. Defendants are liable unto Plaintiff in a sum to be assessed by the trier of fact for
punitive/exemplary damages under common law, states’ laws and/or for willful violations of the

provisions under the FCRA.

82. Further, by violating the FCRA and using unreasonable procedures for data

accuracy and integrity, Defendants likewise breached their contractual duties

83. As a result of the misleading and inaccurate information reported by the
Defendants, the Plaintiff has suffered sustained actual damages including, financial damages,

credit denials, and emotional distress
84. Defendants’ conduct, action and inaction, was willful.

85. Defendants’ actions and inactions were negligent

12

Case 2:05-cV-OO377-WKW-VPI\/| Document 1 Filed 04/25/05 Page 13 of 23

86. Defendants did not have any reasonable basis to believe that the Plaintiff was

responsible for the numerous accounts reported in his credit file.

87. Defendants willfully determined to follow procedures in which it did not review,

confirm or Verify the identity of persons to whom it grants credit for.

88. The Defendants’ wrongful conduct has caused the Plaintiff severe emotional

distress

89. The Defendants’ conduct was clearly extreme and outrageous and would shock a

reasonable person’s conscience

COUNT ONE
Failure to comply with 15 U.S.C. § 1681 s-2 of the
F air Credit Reporting Act by Defendants AES,
TERI and Chase
90. This is a count against Defendant AES, TERI, and Chase for williiil and/or

negligent violations of 15 U.S.C. § 16815-2(b) of the FCRA.

91. Plaintiff re-alleges the relevant foregoing paragraphs of this complaint as if fully

set out herein.

92. Defendants were required under 15 U.S.C. § l681s-2(b), to respond to the request
for reinvestigation by the Plaintiff by completing a diligent inquiry into the facts underlying the
adverse trade-lines and providing accurate information to the credit reporting agencies regarding

those trade-lines

13

Case 2:05-cV-OO377-WKW-VPI\/| Document 1 Filed 04/25/05 Page 14 of 23

93. Defendants’ reinvestigations included the following duties and was required to

meet the following standards:

l A review of all information provided by the credit reporting agency(es);
l A review of all information provided by the Plaintiff;
' To be conducted in good faith;

' To be conducted in such a fashion as to assure the maximum possible accuracy of
the Plaintiff s consumer credit report;

' To be conducted in such a way as to not violate any of the general prerequisites of
conduct under 15 U.S.C. § l681s-2(a) or any other statutory requirement for
furnishers of credit information;

' To be conducted in a reasonable fashion; and

l To be conducted based on a review of all information reasonably available to the
Defendants

94. Following the reinvestigation, on information and belief, Defendants reported the
erroneous credit information with actual knowledge of errors, in violation of the FCRA, 15
U.S.C. § 16815-2(b) and the general duties implied to all conduct of furnishers under 15 U.S.C. §

16813-2(&)(1)(A).

95. Following the reinvestigation, Defendants reported the erroneous credit
information and consciously avoided knowing that the credit information was inaccurate, in
violation of the FCRA, 15 U.S.C. § 1681s-2(b) an the general duties implied to all conduct of

furnishers under 15 U.S.C. § l681s-2(a)(l)(A).

96. Following the reinvestigation and dispatch of notice to Defendants, Defendants
reported credit information that was in fact not accurate, and in violation of the FCRA, 15 U.S.C.

§ 1681s-2(b) an the general duties implied to all conduct of fumishers under 15 U.S.C. § 168ls-

2(&)(1)(1‘\)-

14

Case 2:05-cV-OO377-WKW-VPI\/| Document 1 Filed 04/25/05 Page 15 of 23

97. Following the reinvestigation and dispatch of notice to Defendants the Defendants
failed to notify the consumer reporting agencies to whom it reported credit information that the
debts were disputed, in violation of the FCRA, 15 U.S.C. § 1681$-2(b) an the general duties

implied to all conduct of furnishers under 15 U.S.C. § 1681s-2(a)(l)(A).
98. Defendants’ reinvestigation was not conducted in good faith.

99. Defendants’ reinvestigation was not conducted in such a way as to insure the

maximum possible accuracy of the Plaintiff’ s consumer report
100. Defendants’ reinvestigation was not conducted reasonably.

101. Defendants’ reinvestigation was not conducted using all information reasonably

available to Defendants

102. Defendants’ reinvestigation was per se deficient by reason of these failures of
Defendants in its reinvestigation of the numerous student loan and credit accounts on the

Plaintiffs consumer credit report

103. Defendants’ actions in violating the FCRA, 15 U.S.C. § 1681s-2(b) constituted
willful and/or negligent noncompliance with the FCRA, and entitles the Plaintiff to recover for

damages

WHEREFORE, Plaintiff respectfully requests that judgment be entered against Pacific

fort

A. Actual damages;
B. Punitive damages;
C. Statutory damages pursuant to 15 U.S.C. §§ 1681n and/or 16810.

15

Case 2:05-cV-OO377-WKW-VPI\/| Document 1 Filed 04/25/05 Page 16 of 23

D. Costs and reasonable attorney’s fee pursuant to 15 U.S.C. §§
l681n and/or l6810.

E. For such other and further relief as may be just and proper.

COUNT TWO
Faz'lure to comply with 15 U.S.C. § ]68]e(b), ]68]i(a) and ]68]z`(a)(5) ofthe
F air Credit Reporting Act and State Laws by Equifax and Trans Union.

104. This is a count against Defendants Equifax and TransUnion for willful and

negligent violations of 15 U.S.C. §§ l681e(b), 1681i(a), 1681i(a)(5) of the FCRA and state law.

105. Plaintiff re-alleges all the relevant foregoing paragraphs of this complaint as if

fully set out herein.

9

106. Defendants willfully and/or negligently failed to put in place procedures to
properly reinvestigate consumer claims of inaccuracy in consumer credit reports and have

otherwise violated the FCRA.

107. Defendants willfully and/or negligently refused to properly reinvestigate the

Plaintiff s consumer credit report,

108. The numerous trade-lines contained within the Plaintiff s Equifax and

TransUnion reports as published by Defendants rendered those reports inaccurate,

109. Following receipt of these consumer reports, the Plaintiff requested that
Defendants reinvestigate the numerous student loan and credit card accounts that did not belong

to him.

16

Case 2:05-cV-OO377-WKW-VPI\/| Document 1 Filed 04/25/05 Page 17 of 23

110. As part of the reinvestigation, Defendants were required to notify the fumishers of

the allegedly inaccurate collection account of the dispute in a notice.

111. That notice was required to include all relevant information regarding the dispute

that the agency has received from the consumer.

112. As part of the reinvestigation, Defendants were required to consider and give due

weight to all relevant information submitted by the Plaintiff.

113. Defendants negligently and/or willfully failed to properly consider and give due
weight to all relevant information submitted by the Plaintiff in the course of the reinvestigation,

in violation of the FCRA, 15 U.S.C. § 1681i(a)(5).

114. In response to the request for reinvestigation, Defendants did not perform a proper

reinvestigation, and refused to remove the inaccurate information in violation of the

requirements of the FCRA, 15 U.S.C. § l681i(a)(5).

115. Defendants have maintained the numerous student loan and credit accounts on the

credit reports

116. Defendants have negligently and/or willfully failed to conduct a proper
reinvestigation of the inaccurate trade lines in violation of 15 U.S.C. §§ 1681i, 1681n and/or

16810.
117. The Plaintiff suffered damages as a result of these violations of the FCRA.

118. Defendants’ actions in violating the FCRA constituted negligent and/or willful

noncompliance with the FCRA, and entitles the Plaintiff to recover for damages

17

Case 2:05-cV-OO377-WKW-VPI\/| Document 1 Filed 04/25/05 Page 18 of 23

WHEREFORE, Plaintiff respectfully requests that judgment be entered against Equifax

and TransUnion for:

A. Actual damages;

B. Punitive damages; 1

C. Statutory damages pursuant to 15 U.S.C. §§ 1681n and/or 16810.

D. Costs and reasonable attomey’s fee pursuant to 15 U.S.C. §§
1681n and/or16810.

E. For such other and further relief as may be just and proper.

COUNT THREE
Failure to comply with 15 US.C. § 1681b of the
Fair Credit Reporting Act and State Laws by Equifax,
Trans Union, TERI and Chase.

119. The relevant above and foregoing paragraphs are re-alleged as if fully set out

herein.

120. Defendants TERI and Chase impermissibly accessed Plaintiffs consumer report,

including highly personal and sensitive data through Equifax and TransUnion.

121. Defendants Equifax and TransUnion allowed the impermissible access of the

Plaintiff s consumer reports

122. Defendants TERI and Chase had no legitimate business need or other permissible

purpose for the illegal access of Plaintiff s consumer reports

123. Defendants TERI and Chase likewise violated their subscriber agreement, of

which Plaintiff is a stipulated beneficiary, with the consumer reporting agencies

18

Case 2:05-cV-OO377-WKW-VPI\/| Document 1 Filed 04/25/05 Page 19 of 23

124. Defendants TERI and Chase accessed Plaintiff’s consumer report under false

pretenses
125 . Defendant’s TERI and Chase are “users” of credit information

126. Defendants TERI and Chase have been afforded, under subscriber contract, an
access whereby it may, for permissible, lawful purposes access consumer reports from Equifax,

TransUnion and possibly other consumer reporting agencies

127. Plaintiff learned of the impermissible inquires when he reviewed his consumer

reports

128. Plaintiff has no other dealings of any kind with Defendants TERI and Chase and

TERI and Chase lack any pemiissible reason for said inquiries

l

129. Defendants TERI and Chase, upon each inquiry, certified to the consumer
reporting agencies and Plaintiff, that they had inquired into the Plaintiffs consumer file for a

legitimate purpose when, in fact, they did not.

130. TERI and Chase accessed Plaintiffs consumer report without any consent or

knowledge of Plaintiff
131. TERI and Chase never notified plaintiff of the illegal and impermissible access

132. Plaintiff has no accounts, business dealings or other transactions of any kind with

the defendants TERI and Chase.

133. Defendants TERI and Chase negligently and/or willfully violated the FCRA by

impermissibly obtaining Plaintiff’ s consumer report under false pretenses

19

Case 2:05-cV-OO377-WKW-VPI\/| Document 1 Filed 04/25/05 Page 20 of 23

134. Defendants Equifax and TransUnion negligently and/or willfully violated the

FCRA by allowing Plaintiff s consumer report to be accessed under false pretenses

WHEREFORE, Plaintiff respectfully requests that judgment be entered against

defendants for:

A. Actual damages;

B. Punitive damages;

C. Statutory damages pursuant to 15 U.S.C. §§ 1681n and/or 16810.

D. Costs and reasonable attorney’s fee pursuant to 15 U.S.C. §§
1681n and/or1681o.

E. F or such other and further relief as may be just and proper.

COUNT FOUR
. Defamation

135. The relevant above and foregoing paragraphs are re-alleged as if fully set out

herein

136. Between at least 2004 through the present, Defendants published to various credit
reporting agencies, providers of credit, and others the fact that Plaintiff had over $lZS,OOO in

student loan accounts and various other credit accounts that Were not his.
137. Defendants published this information both orally and in writing.

138. Defendants had no factual basis for making the statements Defendants knew this
because Plaintiff notified them that the student loan accounts did not belong to him and that he

Was a victim of identity theft

20

Case 2:05-cV-OO377-WKW-VPI\/| Document 1 Filed 04/25/05 Page 21 of 23

139. Plaintiff continued to notify Defendants by letters and telephone that the student

loans and Chase accounts were not his and not authorized by him.

140. The written publications by Defendants constitute liable per se. The verbal

publications constitute slander per se.

141. Despite Plaintiff’s notice, Defendants acted with malice by attempting to coerce
Plaintiff into paying for these accounts that were not his Moreover, Defendants acted with
malice by obstructing the reinvestigation of Plaintiff" s consumer disputes when they advised
credit reporting agencies, credit grantors, and others that the disputed accounts were that of the

Plaintiff. Defendants’ acts constitute express or actual malice.

142. Defendants have defamed the Plaintiff by publishing misleading and/or inaccurate

l

information to third parties regarding his creditworthiness

143. As a direct and proximate result of Defendants’ defamation, Plaintiff has suffered
extreme mental anguish, loss of reputation, loss of the ability to obtain credit, mental anguish,
and suffering, and pecuniary damages The losses are either permanent in nature or continuing
and Plaintiff will suffer losses in the future. Defendants’ actions were malicious, willful, wanton,

and to the total disregard of Plaintiff’ s rights

WHEREFORE, Plaintiff respectfully requests that judgment be entered against the

Defendants for:

A. Actual darnages;
B. Punitive damages;

C. For such other and fiirther relief as may be just and proper.

21

Case 2:05-cV-OO377-WKW-VPI\/| Document 1 Filed 04/25/05 Page 22 of 23

COUNT FIVE

Negligence and Wantonness
144. This is a count against defendants for negligence and wantonness
145. Plaintiff realleges the relevant forgoing paragraphs in support of this count
146. As stated defendants are on notice that identity theft is a nationwide problem.

147. Defendants through their agents and employees prepared the loan applications and
documents and/or credit reports at issue in this matter. Defendants negligently or Wantonly hired
and/or supervised their agents in the financing of student loans, consumer transactions and the
prevention of identity theft by either:

(i) Knowing or should have known of the unfitness of the agents who
are described above and yet employed them or continued to
employ them or used their services without proper instruction With
a disregard of the rights of the plaintiff;

(ii) Authorizing the wrongful conduct of said agents set forth hereby;

(iii) Ratifying the wrongful 'conduct of the agents as set forth herein;
and said wrongful acts of agents were calculated to and did benefit
the defendants;

(iv) Releasing credit reports to unauthorized users; and
(v) Acted in an otherwise careless and negligent fashion in disregard
of Plaintiff s rights

148. Defendants failed to employ reasonable procedures to properly supervise their
employees in order to prevent the theft of plaintiffs identity, which was a foreseeable
consequence and a direct result of such failure.

149. Defendants through their actions and inactions, as described herein, caused great
and irreparable injury to Plaintiff.

150. Defendants failed to invoke necessary functions procedures or programs designed
to insure that the personal identifiers of persons such as the plaintiff would not be used in
fraudulent transactions and did not employ commercially reasonable means to verify that the
person signing the loan documents was not an imposter.

151. In addition to actual or compensatory damages for its negligent conduct,

defendants are liable unto Plaintiff in a sum to be assessed by the trier of fact for
punitive/exemplary damages because of the reckless nature of their conduct

22

Case 2:05-cV-OO377-WKW-VPI\/| Document 1 Filed 04/25/05 Page 23 of 23

WHEREFORE, plaintiff prays for actual damages, costs and attorney fees, punitive
damages; such other relief as the Court /deems proper.

///

JAMES D. PATTE;;s'oN (PATJ6485)
EARL P. UNDEI;WOOD (UNDEE6591)

 

Law Offices of Earl P. Underwood, Jr.
21 South Section Street

PO Box 969

Fairhope Alabama 365 33

(251) 990-5558

(251) 990-0626 (Fax)

K'%\`C»e§e&:(

JIM S. CALTON, JR.

 

Calton & Calton

226 East Broad Street
Eufa`ula, AL 36027
(334) 687-3563

(334) 687-3564

PLAINTIFF DEMANDS A TRIAL BY STRUCK JURY OF THE THIS
CASE. : § §

/M m

Please serve this complaint by certified mail.

 

1FBI Law Enforcement Bulletz'n, August 2000 Issue

http: //www. fbi. gov/publications/leb/ZO00/aug001eb pdf

h Identz'ty Theft. The Aftermath 2003, Identify Theft Resource Center, Summer 2003.
_h_ttp: //www. idtheftcenter org/idaftermath. pdf

m See Nowhere to Turn, study by Privacy Rights Clearinghouse and CalPlRG. Found at

www.privacyg`ghts.org Revised 9-03

23

